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UNITED STATES DISTRICT COURT
DISTRICT OF MASSACHUSETTS

 

IN RE: RANBAXY GENERIC DRUG APPLICATION
ANTITRUST LITIGATION

 

THIS DOCUMENT RELATES TO:

All Cases

 

 

 

MDL No. 2878

Master File No.
19-md-02878-NMG

REVISED CASE MANAGEMENT ORDER NO. 4

AND NOW, upon consideration of the parties’ requests to modify the Case Management

Order No. 4 (ECF No. 144), the below schedule is hereby ORDERED:

 

 

Event Current New Date
Fact discovery closes. (All discovery requests must be served
to be answerable by this date, except for requests for Wednesday, Wednesday,

admission, which may be served as of right up to this date,
and with leave of court thereafter.)

April 22, 2020

June 24, 2020

 

Deadline for the plaintiffs to (a) serve opening expert reports
and (b) file motion for class certification (with supporting
expert reports)**

Wednesday,
June 38, 2020

Wednesday,
July 29, 2020

 

Deadline for the defendants to (a) serve all responsive expert
reports and (b) file opposition to class certification (with

Friday, August

Friday, October

 

 

 

 

 

 

 

. 21, 2020 9, 2020
supporting expert reports)**
Deadline for the plaintiffs to (a) serve rebuttal expert reports Wednesday, Friday,
and (b) file class certification reply (with supporting rebuttal October 21, December 4,
expert reports)** 2020 2020
Deadline to depose expert witnesses. Friday, Tuesday,
November 6, December 22,
2020 2020
Class certification hearing Friday Dec. 11, | Toa.,Jan.26,
2020 at 11:00 FRR Court.
a.m. 2611 ak 2:00 9.
Deadline to file Rule 56 motions, Statements of Undisputed Friday, Tuesday,
Facts as required by Local Rule 56.1, and Daubert motions. January 15, February 16,
2021 2021
Deadline to file Rule 56 opposition papers, 7 Wednesday, sudan’, Mawel:
Counterstatement of Facts, and Daubert oppositions. ear 17, 22, 2021
Deadline to file Rule 56 reply papers. Friday, March Wednesday,
12, 2021 April 14, 2021

 

Hearing on Rule 56 aned Daubert motions.

 

TBD by Court

 

 

TBD by Court

 
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Event Current New Date
Parties exchange 26(a)(3) Disclosures, including (a) witness Thursday, July | Thursday, July
list, (b) deposition designations, and (c) trial exhibit list. 15, 2021 15, 2021
Parties exchange objections to Rule 26(a)(3) disclosures,
including (a) any counter deposition designations, (b) Thursday, Thursday,
objections to deposition designations, and (c) objections to August 5, 2021 | August 5, 2021
trial exhibits, along with grounds for such objections.
Parties exchange counter-objections to Rule 26(a)(3) Friday, August | Friday, August
disclosures. 20, 2021 20, 2021
Parties file motions in limine, not to exceed 25 pages per side | Friday, August | Friday, August
in total. 27, 2021 27, 2021
Parties file oppositions to motions in limine,not to exceed 25 Thursday, Thursday,
pages in total. September 9, September 9,
2021 2021
Parties file proposed voir dire, jury instructions, and witness Friday, Friday,
summaries. Courtesy copies of final bound trial exhibits to September 17, | September 17,
be provided at start of trial. 2021 2021
Final pretrial conference and hearings on motions in limine. Wednesday, Wednesday,
September 22, September 22,
2021; 3 p.m. 2021; 3 p.m.
Trial begins. Monday, Monday,
October 4, October 4,
2021; 9 a.m. 2021; 9 a.m.

 

 

 

All reply briefs will be subject to page limits, to be set by the Court.

 

* . No witness may be deposed more than once, except as provided in Fed.R.Civ.P.26 and 30.

 

 

** _ Por all expert reports, the parties will provide three (3) available dates for the deposition
of each proposed expert at the time of serving the report, which dates shall be at least seven
(7) days after service of the report. If defendants seek the deposition of any expert relied upon
by plaintiffs in their class certification motion, such expert shall be made available no later
than September 17, 2020. Except as provided in Fed.R.Civ.P. 26 and 30, each merits expert
will be deposed one time, with the party (plaintiffs or defendants) seeking to take the
deposition given the option of doing so before or after their responsive expert report is due
(i.e., if defendants elect to depose any plaintiffs’ merit expert prior to filing the defendants'
merits expert reports, plaintiffs will make such expert(s) available by this date).

 

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